     Case 5:20-cv-02332-JWH-KK Document 29 Filed 02/26/21 Page 1 of 13 Page ID #:272




 1    Rajan O. Dhungana (SBN: 297794)
 2       rdhungana@fedpractice.com
      Eric S. Montalvo (Pro Hac Vice)
 3       emontalvo@fedpractice.com
 4    FEDERAL PRACTICE GROUP
      1750 K Street, N.W., Suite 900
 5    Washington, D.C. 20006
 6    Telephone: (202) 862-4360
      Fax: (888) 899-6053
 7
 8    Attorneys for Defendant
 9    Mr. Ralph Heredia
10
                           UNITED STATES DISTRICT COURT
11
12                 FOR THE CENTRAL DISTRICT OF CALIFORNIA

13                                (EASTERN DIVISION)
14
      Joseph Diaz, Jr.,                         Case No.: 5:20−cv−02332 JWH (KK)
15
16                 Plaintiff,
      vs.                             DEFENDANT’S REPLY TO
17
                                      PLAINTIFF’S OPPOSITION TO
18    RALPH HEREDIA, true name RAFAEL DEFENDANT’S MOTION TO
      HEREDIA TARANGO, a/k/a RAFAEL COMPEL ARBITRATION AND/OR
19    HEREDIA, a/k/a RAFAEL           STAY THE PROCEEDINGS
20    BUSTAMANTE; JOHN DOE, ESQ.;     PENDING ARBITRATION
      and JANE DOES 1 through 20,
21
      inclusive,                      Date:   March 12, 2021
22
                   Defendants.                  Time:      9:00am
23                                              Courtroom: 2
24                                              Judge:     Hon. John W. Holcomb
25                                              [Declarations of Carmina Ledesma,
26                                              Moses Heredia, Steve Bash, Rajan
                                                Dhungana, and Eric Montalvo submitted
27
                                                herewith]
28
                                             DEFENDANT’S REPLY TO PLAINTIFF’S OPPOSITION
       TO DEFENDANT’S MOTION TO COMPEL ARBITRATION AND OR STAY THE PROCEEDINGS PENDING
                                                                            ARBITRATION
     Case 5:20-cv-02332-JWH-KK Document 29 Filed 02/26/21 Page 2 of 13 Page ID #:273




 1                                             TABLE OF CONTENTS
 2
 3    TABLE OF AUTHORITIES .................................................................................... ii
 4    INTRODUCTION .....................................................................................................1
 5    ARGUMENT .............................................................................................................2
 6    I.       Plaintiff Conceded that the Boxer-Manager Contract is Valid and
 7             Enforceable. .....................................................................................................2
 8    II.      Defendant Heredia is a Co-Owner and an Employee of Heredia Boxing
 9             Management, Inc. and Performed Acts Pursuant to his Employment which
10             Fall under the Provisions of the Boxer-Manager Contract Making him a
11             Necessary Party to the Arbitration. .................................................................3
12    III.     Plaintiff’s Complaint Centers on the Validity of the Boxer-Manager Contract
13             and According to the Commission during an Exchange Discussing the
14             Upcoming Arbitration Proceedings the Same Allegations Raised in the
15             Complaint have been Raised before the Commission Requiring—at a
16             minimum—a Stay of Proceedings as the Boxer-Manager Contract is
17             Currently being Arbitrated...............................................................................4
18    IV.      Removal to Federal Court does not Result in Waiver nor does Withdrawing
19             a Motion to Dismiss in the Early Stages of Litigation. ...................................6
20    V.       Defendant’s Counsel made a Good Faith Effort to Meet and Confer but All
21             Attempts to Meet and Confer have Resulted in Declinations to Participate in
22             any Meaningful Discourse. ..............................................................................7
23    CONCLUSION ..........................................................................................................9
24
25
26
27
28
                                                DEFENDANT’S REPLY TO PLAINTIFF’S OPPOSITION
                  TO DEFENDANT’S MOTION TO COMPEL ARBITRATION AND/OR STAY THE PROCEEDINGS
                                                                      PENDING ARBITRATION
                                                                   i
     Case 5:20-cv-02332-JWH-KK Document 29 Filed 02/26/21 Page 3 of 13 Page ID #:274




 1                                      TABLE OF AUTHORITIES
 2                                                      CASES
 3    Amisil Holdings Ltd. v. Clarium Capital Mgmt.,
 4           622 F. Supp. 2d 825 (N.D. Cal. 2007)....................................................... 1, 4
 5    Ashbey v. Archstone Property Mgmt., Inc.,
 6           785 F.3d 1320 (9th Cir. 2015) ....................................................................... 2
 7    Assad v. Josefsson,
 8           2018 WL 6075344 (C.D. Cal. Sept. 14, 2018) .............................................. 8
 9    Bohn v. Pharmavite, LLC,
10           2013 WL 4517173 (C.D. Cal. Feb. 5, 2013) ................................................. 8
11    Cabinetree of Wisconsin, Inc. v. Kraftmaid Cabinetry, Inc.,
12           50 F.3d 388 (7th Cir. 1995) ....................................................................... 6, 7
13    CarMax Auto Superstores California LLC v. Hernandez,
14           94 F. Supp. 3d 1078, (C.D. Cal. 2015) .......................................................... 8
15    CoinLab Inc. v. MT Gox KK,
16           513 B.R. 576 (W.D. Wash. 2014) ................................................................. 2
17    Dean Witter Reynolds Inc. v. Byrd, 470 U.S. 213 (1985).................................... 5, 6
18    Grand Wireless, Inc. v. Verizon Wireless, Inc.,
19           748 F.3d 1 (1st Cir. 2014).............................................................................. 4
20    Halim v. Great Gatsby's Auction Gallery, Inc.,
21           516 F.3d 557 (7th Cir. 2008) ......................................................................... 7
22    Letizia v. Prudential Bache Sec., Inc.,
23           802 F.2d 1185 (9th Cir. 1986) ....................................................................... 4
24    Leyva v. Certified Grocers of Cal., Ltd.,
25           593 F.2d 857 (9th Cir.1979) .......................................................................... 2
26    Martin v. Yasuda, 829 F.3d 1118 (9th Cir. 2016).................................................... 7
27    Pearson v. Skylark Co.,
28           2000 WL 33201876 (D. Or. Dec. 21, 2000).................................................. 7
                                              DEFENDANT’S REPLY TO PLAINTIFF’S OPPOSITION
                TO DEFENDANT’S MOTION TO COMPEL ARBITRATION AND/OR STAY THE PROCEEDINGS
                                                                    PENDING ARBITRATION
                                                             ii
     Case 5:20-cv-02332-JWH-KK Document 29 Filed 02/26/21 Page 4 of 13 Page ID #:275




 1    Rent-A-Center, West, Inc. v. Jackson,
 2             561 U.S. 63 (2010)......................................................................................... 2
 3    Reynolds v. NRC Envtl. Servs. Inc.,
 4             2020 WL 6083112 (C.D. Cal. Aug. 24, 2020) ............................................. 1
 5    Superbalife, Int'l v. Powerpay,
 6             2008 WL 4559752 (C.D. Cal. Oct. 7, 2008) ................................................. 8
 7    Ward v. Goossen, 71 F. Supp. 3d 1010 (N.D. Cal. 2014) ....................................... 5
 8                                                         STATUTES
 9    The Federal Arbitration Act ................................................................................. 2, 6
10    9 U.S.C. § 2 .............................................................................................................. 2
11    9 U.S.C. § 3 .......................................................................................................... 2, 3
12    9 U.S.C. § 4 .............................................................................................................. 2
13    Cal. Bus. & Prof. Code § 18602 .............................................................................. 5
14    Cal. Bus. & Prof. Code § 18640 .............................................................................. 5
15                                                     REGULATIONS
16    Cal. Code Regs. tit. 4, § 221 .................................................................................... 5
17                                                             RULES
18    L.R. 7-3 ................................................................................................................. 8-9
19
20
21
22
23
24
25
26
27
28
                                                 DEFENDANT’S REPLY TO PLAINTIFF’S OPPOSITION
                   TO DEFENDANT’S MOTION TO COMPEL ARBITRATION AND/OR STAY THE PROCEEDINGS
                                                                       PENDING ARBITRATION
                                                                    iii
     Case 5:20-cv-02332-JWH-KK Document 29 Filed 02/26/21 Page 5 of 13 Page ID #:276




 1                                     INTRODUCTION
 2          Defendant Ralph Heredia, through undersigned counsel, replies to Plaintiff
 3    Joseph Diaz, Jr.’s Opposition to Defendant Ralph Heredia’s Motion to Compel
 4    Arbitration. A valid agreement to arbitrate exists. Plaintiff concedes in its
 5    Opposition that the Boxer-Manager Contract and its arbitration clause are “valid
 6    and enforceable.” (See Pl.’s Opp. at 9 (ECF No. 28).) The Boxer-Manager Contract
 7    states that “all controversies arising between the parties … shall be submitted for
 8    arbitration.” (See Diaz Decl., Ex. A, § C.4.) Defendant Heredia may compel
 9    arbitration as he is being sued in his capacity as an employee of Heredia Boxing
10    Management, Inc. (hereinafter “HBM”). Plaintiff’s Opposition fails to account for
11    Defendant Heredia being a co-owner and employee of Heredia Boxing
12    Management, Inc. (hereinafter “HBM”). As such, in that role he can compel a
13    signatory to the contract to arbitrate. Reynolds v. NRC Envtl. Servs. Inc., 2020 WL
14    6083112, at *5 (C.D. Cal. Aug. 24, 2020) (citing Amisil Holdings Ltd. v. Clarium
15    Capital Mgmt., 622 F. Supp. 2d 825, 830 (N.D. Cal. 2007).)
16          The arbitration agreement encompasses the dispute as Plaintiff has stated in
17    its Complaint that the underlying Boxer-Manager Contract is a “fraud upon the
18    Commission” (See Pl. Compl. ¶47 (ECF No. 3).) Further, Plaintiff recently
19    demonstrated this by actions. Just six days prior to filing his opposition on
20    February 13, 2021, Plaintiff disputed the validity of the Boxer-Manager Contract
21    and did not follow the terms of his contract. (See Heredia, Bash, and Montalvo
22    Decl.’s) Plaintiff argued to the California State Athletic Commission and Golden
23    Boy Promotions that the Boxer-Manager Contract is not valid based on Defendant
24    Heredia’s alleged acts or omissions. (See Heredia, Bash, and Montalvo Decl.’s)
25    Plaintiff’s opposition attempts to paint a picture that the validity of the Boxer-
26    Manager Contract has nothing to do with his Complaint. That cannot be further
27    from the truth. Plaintiff’s Complaint necessarily relies on whether the Boxer-
28    Manager Contract is valid and is inexorably intertwined. Plaintiff made the same or
                                             DEFENDANT’S REPLY TO PLAINTIFF’S OPPOSITION
               TO DEFENDANT’S MOTION TO COMPEL ARBITRATION AND/OR STAY THE PROCEEDINGS
                                                                   PENDING ARBITRATION
                                                 1
     Case 5:20-cv-02332-JWH-KK Document 29 Filed 02/26/21 Page 6 of 13 Page ID #:277




 1    similar arguments found in its Complaint to the Commission to support their
 2    determination not to render the contractually obligated management fees to Mr.
 3    Moses Heredia on February 13, 2021.
 4          Because Mr. Ralph Heredia is an owner and employee of HBM, this Court
 5    should compel the arbitration of claims made against an employee in the scope of
 6    his employment that relate to the Boxer-Manager Contract. Further, As the Boxer-
 7    Manager Contract in question is being arbitrated by the California State Athletic
 8    Commission (“Commission”) this Court should Order a Stay of the Proceedings
 9    until the arbitration ongoing at the Commission is concluded. (See Heredia and
10    Bash Decl.’s) Staying the proceedings at a minimum is required under the Federal
11    Arbitration Act when there is no contest concerning the validity of the contract or
12    its arbitration clause. Rent-A-Center, West, Inc. v. Jackson, 561 U.S. 63, 68 (2010)
13    (citing 9 U.S.C. §§ 2-4). Additionally, a stay of proceedings will ensure this Court
14    does not needlessly re-litigate the validity of the underlying Boxer-Manager
15    Contract. CoinLab Inc. v. MT Gox KK, 513 B.R. 576, 578 (W.D. Wash. 2014)
16    (“The district court may stay an action ‘pending resolution of independent
17    proceedings which bear upon the case’ if it finds ‘it is efficient for its own docket
18    and the fairest course for the parties.’”) (citing Leyva v. Certified Grocers of Cal.,
19    Ltd., 593 F.2d 857, 863 (9th Cir.1979).)
20                                        ARGUMENT
21    I.    Plaintiff Conceded that the Boxer-Manager Contract is Valid and
22          Enforceable.
23          Defendant must show that “(1) a valid agreement to arbitrate exists and if it
24    does, (2) the agreement encompasses the dispute at issue.” Ashbey v. Archstone
25    Property Mgmt., Inc., 785 F.3d 1320, 1323 (9th Cir. 2015). Plaintiff conceded in
26    his Opposition that the Boxer Manager Contract is valid and enforceable. (Pl. Opp.
27    at 9.) Plaintiff is thereby conceding that the arbitration clause is also valid and
28
                                             DEFENDANT’S REPLY TO PLAINTIFF’S OPPOSITION
               TO DEFENDANT’S MOTION TO COMPEL ARBITRATION AND/OR STAY THE PROCEEDINGS
                                                                   PENDING ARBITRATION
                                                 2
     Case 5:20-cv-02332-JWH-KK Document 29 Filed 02/26/21 Page 7 of 13 Page ID #:278




 1    enforceable. Indeed, Plaintiff states that he is engaged in the arbitration against Mr.
 2    Moses Heredia. Id. Further, 9 U.S.C. § 3 states, in relevant part:
 3          If any suit or proceeding be brought in any of the courts of the United
 4          States upon any issue referable to arbitration under an agreement in
 5          writing for such arbitration, the court in which such suit is pending,
 6          upon being satisfied that the issue involved in such suit or proceeding
 7          is referable to arbitration under such an agreement, shall on
 8          application of one of the parties stay the trial of the action until such
 9          arbitration has been had in accordance with the terms of the
10          agreement … .
11          A valid agreement to arbitrate exists. Plaintiff argued in its opposition that
12    Defendant Heredia did not sign the Boxer Manager Contract. As explained below,
13    Defendant Heredia, an owner and employee of the parent company, as a non-
14    signatory, can compel the arbitration of a signatory (Plaintiff).
15 II.      Defendant Heredia is a Co-Owner and an Employee of Heredia Boxing
16          Management, Inc. and Performed Acts Pursuant to his Employment
17          which Fall under the Provisions of the Boxer-Manager Contract
18          Making him a Necessary Party to the Arbitration.
19          Plaintiff sued only Mr. Ralph Heredia, a co-owner and employee of HBM.
20    (See Heredia Decl.). Plaintiff cannot avoid his obligations to arbitrate a
21    “controversy arising” from the Boxer-Manager Contract by suing an employee and
22    then claim they did not sign the contract. In an attempt to obfuscate this issue,
23    Plaintiff submitted a declaration stating he has “… never met an employee of
24    Heredia Boxing Management, Inc.” (See Pl. Opp. and Diaz Decl.) This is not true.
25    Mr. Diaz engaged in extensive communications with Ms. Carmina Ledesma
26    regarding an agreement to help cover his bills. (See Ledesma Decl. and Ex. A. and
27    Heredia Decl.) Moreover, checks sent to Plaintiff from Defendant were from HBM
28    (See Heredia Decl. and Ex. B.). Additionally, Plaintiff communicated as recently
                                             DEFENDANT’S REPLY TO PLAINTIFF’S OPPOSITION
               TO DEFENDANT’S MOTION TO COMPEL ARBITRATION AND/OR STAY THE PROCEEDINGS
                                                                   PENDING ARBITRATION
                                                 3
     Case 5:20-cv-02332-JWH-KK Document 29 Filed 02/26/21 Page 8 of 13 Page ID #:279




 1    as July 24, 2020 discussing the need for more money, which was provided, and
 2    discussing his future with Mr. Moses Heredia. (See Heredia Decl. and Ex.’s C &
 3    D.)
 4          Defendant Heredia’s actions, as an owner, employee and agent of HBM, are
 5    all under the scope of the Boxer-Manager Contract. Non-signatory employees are
 6    covered by arbitration agreements. Letizia v. Prudential Bache Sec., Inc., 802 F.2d
 7    1185, 1188 (9th Cir. 1986); Grand Wireless, Inc. v. Verizon Wireless, Inc., 748
 8    F.3d 1, 11 (1st Cir. 2014) (“When the non-signatory party is an employee of the
 9    signatory corporation and the underlying action in the dispute was undertaken in
10    the course of the employee's employment, these circuits have fashioned, uniformly,
11    a federal rule designed to protect the federal policy favoring arbitration.”); see also
12    Amisil Holdings Ltd. v. Clarium Capital Mgmt., 622 F. Supp. 2d 825, 832 (N.D.
13    Cal. 2007) (“Taken together, Letizia and Britton establish that agents of a signatory
14    can compel the other signatory to arbitrate so long as (1) the wrongful acts of the
15    agents for which they are sued relate to their behavior as agents or in their
16    capacities as agents (Letizia ) and (2) the claims against the agents arise out of or
17    relate to the contract containing the arbitration clause (Britton ) (consistent with the
18    language of the arbitration clause).”) Here, Defendant Heredia is being sued for
19    alleged wrongful acts pursuant to his role an employee (agent) of HBM and those
20    claims arise out of or relate to the Boxer-Manager Contract containing an
21    arbitration clause. As such, this Court must compel arbitration.
22 III.     Plaintiff’s Complaint Centers on the Validity of the Boxer-Manager
23          Contract and According to the Commission during an Exchange
24          Discussing the Upcoming Arbitration Proceedings the Same Allegations
25          Raised in the Complaint have been Raised before the Commission
26          Requiring—at a minimum—a Stay of Proceedings as the Boxer-
27          Manager Contract is Currently being Arbitrated.
28          The central theme in Plaintiff’s Complaint is that the Plaintiff was duped
                                             DEFENDANT’S REPLY TO PLAINTIFF’S OPPOSITION
               TO DEFENDANT’S MOTION TO COMPEL ARBITRATION AND/OR STAY THE PROCEEDINGS
                                                                   PENDING ARBITRATION
                                                 4
     Case 5:20-cv-02332-JWH-KK Document 29 Filed 02/26/21 Page 9 of 13 Page ID #:280




 1    into signing a contract with Mr. Moses Heredia while Defendant Heredia served as
 2    Plaintiff’s boxing manager. (See Pl. Compl. ¶¶ 4, 35-37, 47, 51, 58, & 63 (ECF No.
 3    3).) Plaintiff’s Complaint states that Defendant Heredia “induced Diaz into an
 4    illicit arrangement whereby Heredia’s half-brother, Moses Heredia, was Diaz’s
 5    manager “on paper,” while Defendant Heredia served as Diaz’s de facto manager.”
 6    Id. ¶ 4. And that this is a “fraud perpetuated on the Commission.” Id. ¶ 47. That
 7    Defendant Heredia “did not disclose the true reason why he had his half-brother,
 8    Moses, sign the Current Agreement as the manager, rather than him.” Id. Plaintiff’s
 9    Complaint centers on whether the Boxer-Manager Contract is a byproduct of fraud
10    or whether it is a valid and enforceable contract. Per the Boxer-Manager Contract’s
11    arbitration clause and the statutes and regulations governing professional boxing in
12    California, the Commission is the correct body to make that determination. Cal.
13    Bus. & Prof. Code §§ 18602, 18640; see also Cal. Code Regs. tit. 4, § 221. Mr.
14    Moses Heredia filed a timely request for arbitration with the Commission to
15    determine the validity of this contract. (See Heredia Decl. and Ex. E.)
16          Defendant’s counsel discussed the upcoming arbitration with the
17    Commission. (See Montalvo Decl.) The Commission related that it had received a
18    document from Plaintiff. In that writing, the same or similar arguments concerning
19    Defendant Heredia were submitted to the Commission in furtherance of the
20    arbitration to argue that the Boxer-Manager Contract is not valid. Id. As stated in
21    Def.’s Mem. and given the broad language in the arbitration clause, the agreement
22    encompasses the dispute at issue. (See Def.’s Mem. at 6-8. (discussing Ward v.
23    Goossen, 71 F. Supp. 3d 1010 (N.D. Cal. 2014).)
24          Assuming, arguendo, that not every cause of action asserted by Plaintiff is
25    encompassed by the dispute, a stay of proceedings is still the appropriate course of
26    action. In Dean Witter, the Supreme Court held that it is appropriate for a district
27    court to compel arbitration or stay a proceeding pending arbitration when claims
28    arise out of the same transaction and some are arbitrable and others are not. Dean
                                             DEFENDANT’S REPLY TO PLAINTIFF’S OPPOSITION
               TO DEFENDANT’S MOTION TO COMPEL ARBITRATION AND/OR STAY THE PROCEEDINGS
                                                                   PENDING ARBITRATION
                                                5
     Case 5:20-cv-02332-JWH-KK Document 29 Filed 02/26/21 Page 10 of 13 Page ID #:281




 1     Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 217, 105 S. Ct. 1238, 1241, 84 L. Ed.
 2     2d 158 (1985). In Dean Witter, the appellee, Byrd, invested with Dean Witter and
 3     signed an arbitration agreement. A dispute arose and litigation commenced. Dean
 4     Witter filed a motion to serve out state claims, compel their arbitration, and a stay
 5     of the arbitration pending resolution of the remaining federal claims involving
 6     securities. Id. at 215. The district court denied the motion, the Ninth Circuit upheld
 7     the decision, however, the Supreme Court reversed. Id. 215-217. In Dean Witter,
 8     the Supreme Court held when claims are “intertwined” “the Arbitration Act
 9     requires district courts to compel arbitration of pendent arbitrable claims when one
10     of the parties files a motion to compel ….” Id. at 217. Further, the Federal
11     Arbitration Act requires arbitration of arbitrable claims even if that results in
12     piecemeal litigation. Id. 221.
13           Here, Defendant Heredia is essentially asking this Court to do the same
14     thing—stay the proceedings so the causes of action asserted in Plaintiff’s
15     Complaint that are intertwined with the validity and enforceability of the Boxer-
16     Manager Contract are arbitrated. Defendant Heredia is not asking for much time
17     either. The Commission is ready to do the arbitration in mid-March. (See Montalvo
18     Decl. and Ex. F.) Currently, the parties are pending scheduling of the arbitration.
19     Id. and Ex. G. At a minimum this Court should grant a stay of proceedings to
20     effectuate the intent of parties and arbitrate the arbitral claims raised in Plaintiff’s
21     Complaint that are intertwined with the claims already in front of the Commission.
22 IV.       Removal to Federal Court does not Result in Waiver nor does
23           Withdrawing a Motion to Dismiss in the Early Stages of Litigation.
24           Plaintiff suggests, incorrectly, that removing a case to federal court waives a
25     Defendant’s right to seek arbitration. Plaintiff cites to cases which do not actually
26     hold that removing a case to federal court waives the right to arbitration. Plaintiff
27     cites to Cabinetree of Wisconsin, Inc. v. Kraftmaid Cabinetry, Inc., 50 F.3d 388,
28     390 (7th Cir. 1995), a Seventh Circuit case for the proposition that just removing a
                                              DEFENDANT’S REPLY TO PLAINTIFF’S OPPOSITION
                TO DEFENDANT’S MOTION TO COMPEL ARBITRATION AND/OR STAY THE PROCEEDINGS
                                                                    PENDING ARBITRATION
                                                   6
     Case 5:20-cv-02332-JWH-KK Document 29 Filed 02/26/21 Page 11 of 13 Page ID #:282




 1     case to federal court results in waiver. However, Cabinetree holding was
 2     overturned by the Seventh Circuit and is counter to the standard in the Ninth
 3     Circuit. See Pearson v. Skylark Co., 2000 WL 33201876, at *3 (D. Or. Dec. 21,
 4     2000) (“Pearson has failed to demonstrate that Skylark acted inconsistent with its
 5     right to arbitrate by removing this case to federal court” under the standard in the
 6     Ninth Circuit.) (citing Cabinetree, 50 F.3d at 390) (other internal citations
 7     omitted.); Halim v. Great Gatsby's Auction Gallery, Inc., 516 F.3d 557, 562 (7th
 8     Cir. 2008) (“This Court has explicitly held that simply moving to dismiss a case
 9     does not waive one's right to arbitrate.”) (citing Cabinetree, 50 F.3d at 390.)
10           Further in Martin v. Yasuda, the Ninth Circuit held an “extended silence and
11     delay in moving for arbitration” is what indicates a “‘conscious decision to
12     continue to seek judicial judgment on the merits of [the] arbitrable claims,’ which
13     would be inconsistent with a right to arbitrate.” Martin v. Yasuda, 829 F.3d 1118,
14     1125 (9th Cir. 2016) (internal citations omitted). In the opinion, the word
15     “removal” or any of its derivatives appears only once when citing to another case
16     that listed a plethora of actions done by a defendant to show waiver. Id. (citing
17     Plows v. Rockwell Collins, Inc., 812 F.Supp.2d 1063, 1067–68 (C.D. Cal. 2011).
18     Even in Cabinetree, the defendant engaged in months long litigation and thousands
19     of pages of discovery before the Seventh Circuit found waiver. Cabinetree, 50 F.3d
20     at 389. Further, a withdrawal of a motion is the antithesis of an indication that
21     Defendant is seeking or “continuing to seek” a judicial judgment on the merits.
22           The standard for waiver in the cases cited in Plaintiff’s opposition and
23     Defendant’s Memorandum is months of litigation with thousands of documents
24     being exchanged. This simply has not occurred yet in this case.
25     V.    Defendant’s Counsel made a Good Faith Effort to Meet and Confer but
26           All Attempts to Meet and Confer have Resulted in Declinations to
27           Participate in any Meaningful Discourse.
28           Plaintiff brings up an issue already seemingly addressed by the Court in ECF
                                              DEFENDANT’S REPLY TO PLAINTIFF’S OPPOSITION
                TO DEFENDANT’S MOTION TO COMPEL ARBITRATION AND/OR STAY THE PROCEEDINGS
                                                                    PENDING ARBITRATION
                                                 7
     Case 5:20-cv-02332-JWH-KK Document 29 Filed 02/26/21 Page 12 of 13 Page ID #:283




 1     No. 26 when the Court directed the parties to file their respective response and
 2     reply papers pertaining to the motion to compel arbitration and/or stay the
 3     proceedings pending arbitration. Counsel has thoroughly reviewed and will
 4     diligently comply with the Court’s Local Rules.
 5           However, the lack of dialogue is on both parties. The one word response
 6     from Plaintiff’s counsel (“No”) shows that. (See Greeley Decl., Ex. E (Email
 7     exchange between Counsel).) There were no additional questions asked by
 8     Plaintiff’s counsel, no additional engagement, and no request for a phone call to
 9     discuss the motion— just “No.” See Bohn v. Pharmavite, LLC, 2013 WL 4517173,
10     at *1 (C.D. Cal. Feb. 5, 2013) (“A good faith effort to comply with Local Rule 7–3
11     would have required the Parties to discuss the substance of the [motion].”)
12     (emphasis added.)
13           Further, this is on the heels of the last communication with Plaintiff’s
14     counsel on January 5, 2021 where Plaintiff’s counsel engaged in a short phone call
15     and stated words to the effect of “This is the meet and confer.” (See Dhungana
16     Decl.) The purpose of the meet and confer pursuant to Local Rule 7-3 is to
17     “determine whether it is possible to come to an agreement that obviates the need
18     for the motion.” CarMax Auto Superstores California LLC v. Hernandez, 94 F.
19     Supp. 3d 1078, 1088 (C.D. Cal. 2015). Here, the hostility experienced when
20     attempting to discuss this case has shown that an agreement, at least at this stage, is
21     not possible. At a minimum, Defendant’s counsel sought to meet and confer on this
22     issue in good faith and Plaintiff’s counsel replied with a one-word declination. See
23     Superbalife, Int'l v. Powerpay, 2008 WL 4559752, at *2 (C.D. Cal. Oct. 7, 2008)
24     (discussing dismissal is appropriate when a good faith attempt is absent.) Any
25     further attempt to meet and confer would not have narrowed the issues concerning
26     the instant motion. See Assad v. Josefsson, 2018 WL 6075344, at *2 (C.D. Cal.
27     Sept. 14, 2018) (discussing the intent of the meet and confer rule is to narrow the
28     issues “to the important issues that remain in dispute.”) Defendant’s counsel
                                              DEFENDANT’S REPLY TO PLAINTIFF’S OPPOSITION
                TO DEFENDANT’S MOTION TO COMPEL ARBITRATION AND/OR STAY THE PROCEEDINGS
                                                                    PENDING ARBITRATION
                                                  8
     Case 5:20-cv-02332-JWH-KK Document 29 Filed 02/26/21 Page 13 of 13 Page ID #:284




 1     understands the seriousness of the Local Rules and will fully comply on all future
 2     filings regardless of the response received by Plaintiff’s counsel.
 3                                       CONCLUSION
 4           For the reasons stated here and in his initial Memorandum, the Court should
 5     grant Defendant Ralph Heredia’s Motion to Compel Arbitration and/or Stay the
 6     Proceedings Pending Arbitration.
 7     Dated: February 26, 2021               Respectfully submitted,
 8
 9                                            /s/ Rajan O. Dhungana
                                              Rajan O. Dhungana (SBN: 297794)
10                                            Eric S. Montalvo (Pro Hac Vice)
11                                            FEDERAL PRACTICE GROUP
                                              1750 K Street, N.W., Suite 900
12                                            Washington, D.C. 20006
13                                            Telephone: (202) 862-4360
14                                            Fax: (888) 899-6053
                                              rdhungana@fedpractice.com
15                                            emontalvo@fedpractice.com
16
                                              Attorneys for Defendant
17                                            Ralph Heredia
18
19
20
21
22
23
24
25
26
27
28
                                              DEFENDANT’S REPLY TO PLAINTIFF’S OPPOSITION
                TO DEFENDANT’S MOTION TO COMPEL ARBITRATION AND/OR STAY THE PROCEEDINGS
                                                                    PENDING ARBITRATION
                                                 9
